Case 1:18-cv-00986-TSE-IDD Document 1-3 Filed 08/09/18 Page 1 of 5 PageID# 14




                              Exhibit C
...   Case
       Case2:15-cv-00707-LDW-AYS
            1:18-cv-00986-TSE-IDD Document Document 33 1-3 Filed
                                                             Filed07/26/17
                                                                   08/09/18 Page
                                                                             Page12ofof45PageID
                                                                                            PageID# #: 15
       Gase 2: 1 O-cv-UU tut -LLJW-A Y ::> LJocu ment :52 t-1led 11110/10 1-'age 1 ot 4 1-'agel LJ #~
                                                                                                       207
                                                                                                             ..t-F
                                 UNITED ST ATES DISTRICT COURT FOR
                                 THE EASTERN DISTRICT OF NEW YORK
         ----------------------------------------------------------){
         GUMWAND lNC.

                                          Plaintitt,                      Civil Action No.: 2: 15 cv 00707

                                 v.
                                                            LI
                                                                  1~ C/: fl.. ~ (LDW) (AY S)
                                                             .s, DtsroL~rrk's,.-; D
         GUM WAND LTlJ.                                    *          . r,fCr Cc Opf:'/Qs
                                                                     iiU'I
                                                                      . L..26
                                                                                 'UFtr f:.D.N, y
                                                                                                '
                         and                             LON          :         2011        *
         MARTIN WHITBREAD                                        G   l~L;J./VD O,r::F"t
                                          Det'endants                 :                   CE
         ----------------------------------------------------------){
                                      PROPOSED DEFAULT JUDGMENT

                 WHJ::JlJ::AS, as set torth in the accompanying declaration of Scott Genoa, and

         Gerard F. Dunne, the Plaintiff Gumwand lnc. has been using various GUM WAND

         trademarks in commence within the United Sates and elsewhere for the marketing and

         sale of steam cleaning devices usethl tor removing chewing gum residue, and is the

         owner of several United States and .European trademark registrations tor the marks in

         various forms, including United States Trademark Registration No. 4,676,168 for the

         trademark GUM WAND in any form for mobile fluid cleaning machinery, Community

         Trade Mark Registration No. 013 099841 for the GU MWAND trademark in any form for

         the European Union, United States Trademark Registration No. 4,635,305 for the GUM

         WAND logo as used on mobile tllud cleaning machinery and Community Registration no.

         O13 23 5965 for the J:: uropean Union as shown below




                                                                 1
-   .   Case
         Case2:15-cv-00707-LDW-AYS
         Case
              1:18-cv-00986-TSE-IDD Document
                                    Document 33
                L:1t>-cv-UUfUf-LUW-AY~
                                             1-3 Filed
                                                  Filed07/26/17
                                                        08/09/18 Page
                                                                  Page23ofof45PageID
                                                                               PageID#
                                                                                     #: 16
                                                                                        208
                                            Uocument 3£ t-1led 11/1o/1o Page L ot4 r>agelU #: 181




                    Whereas as set forth in the accompanying declaration of Scott Genoa,

             Gumwand Inc. is also the owner of United States Trademark Registration No.

             4,676,524 for the GUM WAND logo as used on mobile fluid cleaning machinery and

             as Community Registration no. O12838918 tor the European Union as shown below




            and all such trademarks are identified herein as HGumwand trademarks."

                    WH.EREAS as set torth in the accompanying declaration ot Scott Genoa, the

            Defendants Gum Wand Ltd. and Martin Whitbread have infringed the Gumwand

            trademarks and violated rights ot' Plaintitl Gumwand lnc. by improperly using the

            gumwand.com domain name as well as false advertising and untair competition

            relating to Gumwand branded products;

                    WHEREAS, United States Magistrate Judge Anne Y. Shields on October 13,

            2016 entered Sua Sponte Report & Recommendation in this matter recommending a

            default in this matter, and the Court having accepted such Report and Recommendation

            and adopted the findings therein in its order ot' November 4, 2016;

                    WH.ER.EAS, Detendants having been served with discovery requests relating to

            their sales ot the products accused to infringe the GUM WAND trademarks, and the

            Detendants having failed to object or respond to said discover requests and

                    l l lS HER.EH Y URDJ::RJ::JJ, AJJJU JJGJ::JJ AND DJ::CRJ::J::D THAT:

                    1. l his Court shall retain jurisdiction over the subject matter and the parties.


                                                          2
..   Case
      Case2:15-cv-00707-LDW-AYS
           1:18-cv-00986-TSE-IDD Document
                                 Document 33
                                          1-3 Filed
                                               Filed07/26/17
                                                     08/09/18 Page
                                                               Page34ofof45PageID
                                                                            PageID#
                                                                                  #: 17
                                                                                     209
      Case 2:1 o-cv-UU/Uf-LLJW-AY~       Uocument 32 riled 11/1t>/1o Page 3 ot 4 J-'agelLJ #: 188




                 2. Gum Wand Ltd. and Martin Whitbread and their respective agents, servants,

         employees and those persons under their control or acting in concert therewith are

         hereby enjoined from

                       (A)    making any statement that suggests any affiliation or association

                              with Plaintitl Gumwand lnc. or making any statement suggesting

                              either of the Defendants Gum Wand Ltd. or Martin Whitbread had

                              any role in designing, developing or creating any product

                              resembling any product marketed by Plaintitl under any ot the

                              Gtunwand trademarks, and

                       (H)    the manufacturing, having manufactured by others, acquiring,

                              importing~   ottering for sale, selling, advertising, promoting or

                              distributing anywhere in the world any products using any of the

                              G Li MW AND trademarks without first obtaining written

                              pennission from Gumwand lnc. or using in any manner the

                              Gumwand trademarks alone or in combination with any word or

                              words, design or designs which so resemble the Gumwand

                              trademarks as to be likely to cause contusion, deception, or

                              mistake.

                 3. That Gum Wand Ltd. and Martin Whitbread shall immediately transfer to

         Gumwand lnc. complete ownership and control of the gumwand.com website and

         domain name to Gumwand Inc., and shall permanently refrain and desist trom using

         any domain name having gumwand or gum wand or any colorable variation in its

         name.

                 4. Martin Whitbread and Gum Wand Ltd. shall cease and desist permanently


                                                    3
Case
 Case2:15-cv-00707-LDW-AYS
      1:18-cv-00986-TSE-IDD Document
                            Document 33
                                     1-3 Filed
                                          Filed07/26/17
                                                08/09/18 Page
                                                          Page45ofof45PageID
                                                                       PageID#
                                                                             #: 18
                                                                                210
 Case L:1b-cv-UU/U/-LIJW-AY!:>    IJocument :.:SL    t-1led 11110110 Page 4 ot4 PagelU #: 188




    from using Gumwand, Gum Wand or any variation thereat in any name of any

    continuing business enterprise.

           5. This Court further enters judgement for Plaintiff Gumwand Inc. against

    Detendants Gum Wand Ltd. and Martin Whitbread, jointly and severally, tor

    statutory damages in the amount ot" $1,000,000 t'or the counterteit inti'ingement of

    Federally-registered marks as provided by 15 U .S.C. § l l l 7(c) of the Lanham Act.

           6. That Plaintin Gum\vand lnc. receive its costs in this action with interest

    trom the date otthe tiling otthis complaint pursuant to 15 U .S.C. § 1117 and

    General Business Law §§ 349, 350 and 360-m;

           7. That Plaintiff Gumwand lnc. receive interest on its damages awards trom

    the date ot'thisjudgementas provided by28 U.S.C. § 1961.



    SO OR.IJEREJJ:                                                                    "7'
                                                                  -~-:P.J·~-/C.) l/S!JJ
                                                    /?
                                               A         j). tU
    Central !slip, New York     ,,lct:Ai/1-~ !J
                             .5;/                                              ----=-
    P.I ev eml9et  , 2 016  /                 ____...-.;;;;;.__ _ _ _ _,,_____ __
   ~L,...'-( "2-b l-0 ( .. ,- ------v--nTredSfates District Court J
                   /




                                              4
